LOCAL FORM 2016-2




                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA



 In re:                                                        Chapter 13
                                                               BKY. 23-50278
 Ryan and Alyssa Schulz,
                   Debtors


 Ryan and Alyssa Schulz,
                                                               Chapter 13
                             Plaintiff                         ADV. TBD

 v.

 LeMieux Properties, LLC,

                             Defendant

             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                          IN ADVERSARY PROCEEDING

      1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am
         the attorney for the above-named debtor(s) and that compensation paid to
         me after one year before the date of the filing of the petition in bankruptcy, or
         agreed to be paid to me, for services rendered or to be rendered on behalf of
         the debtor(s) in contemplation of or in connection with this adversary
         proceeding is as follows:

          For legal services, I have agreed to accept
          (flat fee or hourly rate):                                           $515

          Prior to the filing of this statement, I have received:              $0

          Balance Due (or hourly rate):                                        $515


      2. The source of the compensation paid to me was:

          ☐         Debtor                                 ☐      Other (specify)

      3. The source of the compensation to be paid to me is:

          ☒         Debtor                                 ☐      Other (specify)

                                             Page 1 of 2
LOCAL FORM 2016-2




       4.

         ☐ I have not agreed to share the above-disclosed compensation with any other
         person unless they are members and associates of my law firm.

         ☒ I have agreed to share the above-disclosed compensation with another
         person or persons who are not members or associates of my law firm. A copy of
         the agreement, together with a list of the names of the people or entities sharing
         in the compensation, is attached.


    5. In return for the above-disclosed fee, together with such further fee, if any, as is
       provided in the written contract required by 11 U.S.C. §528(a)(1), I have agreed
       to render the following legal services:

            Representation of the debtor(s) in this adversary proceeding.



                                       CERTIFICATION

          I certify that the foregoing, together with the written contract required by 11 U.S.C.
  §528(a)(1), is a complete statement of any agreement or arrangement for payment to me
  for representation of the debtor(s) in this adversary proceeding.


       Date: March 27, 2025                          /e/ Mark L. Vavreck
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                                             Page 2 of 2
